EXHIBIT 3
12/14/2020             American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.          Debra O'Connell

                                                      Page 1                                              Page 3
             UNITED STATES DISTRICT COURT                        1    APPEARANCES OF COUNSEL
             SOUTHERN DISTRICT OF NEW YORK                       2
       _______________________________________
       AMERICAN BROADCASTING COMPANIES,                  )       3    FOR PLAINTIFFS:
       INC., DISNEY ENTERPRISES, INC.,      )                              WILLIAMS & CONNOLLY LLP
       TWENTIETH CENTURY FOX FILM             )
       CORPORATION, CBS BROADCASTING INC.,           )           4         BY: JOSEPH M. TERRY, ESQUIRE
       CBS STUDIOS INC., FOX TELEVISION       )                  5             JANE CHONG, ESQUIRE
       STATIONS, LLC, FOX BROADCASTING          )
       COMPANY, LLC, NBCUNIVERSAL MEDIA,             )
                                                                 6         725 12TH STREET, NW
       LLC, UNIVERSAL TELEVISION LLC, AND )                      7         WASHINGTON, DC 20005
       OPEN 4 BUSINESS PRODUCTIONS, LLC, )
                           )
                                                                 8         (202) 434-5000
                     PLAINTIFFS, ) CASE NO.                      9         jterry@wc.com
                           ) 19-cv-7136-LLS                     10         jchong@wc.com
                v.          )
                                                                11
                           )
       DAVID R. GOODFRIEND AND SPORTS FANS               )      12    FOR DEFENDANTS:
       COALITION NY, INC.,            )
                           )
                                                                13        ORRICK, HERRINGTON & SUTCLIFFE LLP
                     DEFENDANTS. )                              14        BY: ERIN M. B. LEACH, ESQUIRE
       _______________________________________)                 15        2050 MAIN STREET, SUITE 1100
         VIDEOTAPED DEPOSITION OF DEBRA O'CONNELL               16        IRVINE, CALIFORNIA 90401
         TAKEN REMOTELY VIA ZOOM VIDEOCONFERENCE                17        (949) 567-6700
            MONDAY, DECEMBER 14, 2020
                                                                18        eleach@orrick.com
       Reported by Audra E. Cramer, CSR No. 9901                19
       ____________________________________________________
                DIGITAL EVIDENCE GROUP
                                                                20    ALSO PRESENT:
              1730 M Street, NW, Suite 812                      21        BILL GEIGERT, VIDEOGRAPHER
                Washington, D.C. 20036
                  (202) 232-0646
                                                                22        GEOFFREY ROBERTS, HOTSEATER


                                                      Page 2                                              Page 4
  1      VIDEOTAPED DEPOSITION OF DEBRA O'CONNELL,               1             INDEX
  2   TAKEN REMOTELY VIA ZOOM ON BEHALF OF THE DEFENDANTS,       2    WITNESS
  3   AT 11:07 A.M. EST, MONDAY, DECEMBER 14, 2020, BEFORE
                                                                 3    DEBRA O'CONNELL
                                                                 4
  4   AUDRA E. CRAMER, CSR NO. 9901, PURSUANT TO NOTICE.         5    EXAMINATION            PAGE
  5                                                              6    BY MS. LEACH            7
  6                                                              7    (P.M. SESSION)        98
  7
                                                                 8    BY MR. TERRY           254
  8
                                                                 9    BY MS. LEACH          260
                                                                10
  9
                                                                11
 10                                                             12               EXHIBITS
 11
                                                                13    NO.       PAGE     DESCRIPTION
 12
                                                                14    Exhibit 1 77      REQUEST FOR WAIVER
                                                                                    ABC0001578 THRU 0001582
 13
                                                                15    Exhibit 2 100     WABC COVERAGE MAP
 14
                                                                                    ABC0004119
 15                                                             16    Exhibit 3 164     EMAIL CHAIN ABC0000965 THRU
 16                                                                                 0000967
                                                                17    Exhibit 4 187     NEW YORK TIMES ARTICLE
 17
                                                                                    ABC0001112 THRU 0001117
 18                                                             18    Exhibit 5 189     EMAIL ABC0001101 THRU
 19                                                                                 0001103
                                                                19
 20
                                                                20
 21
                                                                21
 22                                                             22




                                                                                       1 (Pages 1 to 4)
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12/14/2020         American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.           Debra O'Connell

                                           Page 149                                                 Page 151
   1     just want to make sure I'm answering it             1    regarding the contexts of privilege, which is
   2     correctly.                                          2    what I'm doing.
   3           And your question is as an                    3          So the question asks you why certain
   4     FCC-regulated business...?                          4    individuals are being sued. If you know why
   5        Q. Is ABC required to provide the public a       5    certain individuals and entities are being sued
   6     free over-the-air broadcast?                        6    as part of the Locast lawsuit aside from
   7        A. Our station -- our stations --                7    communications with counsel or things you
   8           MR. TERRY: Object --                          8    learned through counsel, you can answer it. If
   9           THE WITNESS: -- yeah, like WABC, yes,         9    the question is, "Do you have a beef with
  10     as part of our -- that's our FCC license as a      10    Locast, and what is it?" you can answer that as
  11     broadcaster, and as a broadcaster, we offer our    11    well.
  12     content free over the air.                         12          But don't reveal anything you learned
  13     BY MS. LEACH:                                      13    about strategy or rationale or anything from
  14        Q. As a part of that FCC license, is the        14    counsel.
  15     public entitled to a free over-the-air broadcast   15          THE WITNESS: Thank you.
  16     from WABC?                                         16          Erin, I find it odd that any
  17           MR. TERRY: Objection to form.                17    organization would take someone's content
  18           You can answer.                              18    without having a relationship with them; look to
  19           THE WITNESS: What was that, Joseph?          19    affect their business model, especially any
  20           Sorry. I couldn't hear you.                  20    local television station, who -- as I said
  21           MR. TERRY: I objected, but I said you        21    earlier, I feel like the mission is fairly
  22     could go ahead and answer if you can.              22    simple: We're here to serve our communities.


                                           Page 150                                                 Page 152
   1            THE WITNESS: They're entitled to be          1           In order to do that, in order to invest
   2     able to have access to -- right? -- meaning over    2    and reinvest in news coverage and content and
   3     the air they can watch Channel 7, WABC, as an       3    the number of hours and community events and
   4     example of a station, yes.                          4    even our talent, who's the voice of our
   5     BY MS. LEACH:                                       5    communities and who host hundreds of charity
   6        Q. Thank you.                                    6    events, even in the virtual state of today as
   7        A. Via broadcast. Via over-the-air               7    well as the previous and what will be the
   8     broadcast.                                          8    post-pandemic, you know, in person, I just -- I
   9        Q. Without disclosing communications with        9    don't understand why someone would think that
  10     your attorneys, are you able to tell me why ABC    10    that's okay to do, quite honestly.
  11     and Disney Enterprises are suing David             11           You know, just take your signal and
  12     Goodfriend and Sports Fans Coalition?              12    look to -- look to, first of all, put it out in
  13            MR. TERRY: Objection to form.               13    a format that doesn't have the content creator
  14            The witness can't reveal any --             14    or the business owner have any kind of control
  15            MS. LEACH: I just asked her to answer       15    of quality; that they can ask our viewers for
  16     the question --                                    16    donations.
  17            MR. TERRY: I know.                          17           We don't ask people for donations.
  18            MS. LEACH: -- if she's able to              18    They have a choice: They can watch us over the
  19     without --                                         19    air, they can watch us free on our websites, or
  20            MR. TERRY: But this question might, by      20    they can buy a multichannel subscription through
  21     its terms, intrude on the privilege, and I'm       21    a distributor of any sense.
  22     entitled to give the witness an instruction        22           My understanding -- and even just


                                                                      38 (Pages 149 to 152)
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12/14/2020         American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.                               Debra O'Connell

                                           Page 277                                                                       Page 279
   1        Q. Okay.                                        1    STATE OF CALIFORNIA  )
                                                            2    COUNTY OF LOS ANGELES ) SS.
   2        A. You know, those are typically reserved
                                                            3
   3     for, like, a monthly meeting.                      4         I, AUDRA E. CRAMER, CSR No. 9901, in and for the
   4        Q. A monthly meeting?                                State of California, do hereby certify:
   5        A. Meaning when I do meeting notes, it's        5         That, prior to being examined, the witness named
                                                                 in the foregoing deposition was by me duly sworn to
   6     not for a meeting that happens twice a week.       6    testify the truth, the whole truth and nothing but the
   7        Q. What about -- you said you meet with --           truth;
   8     well, I guess, granted, it's only been this        7         That said deposition was taken down by me in
   9     month that you've met monthly with the other            shorthand at the time and place therein named, and
                                                            8    thereafter reduced to typewriting under my direction,
  10     station.
                                                                 and the same is a true, correct and complete transcript
  11            Did you keep meeting notes for that         9    of said proceedings;
  12     meeting?                                          10         I further certify that I am not interested in the
  13        A. No. No, I did not. But I -- well,                 event of the action.
                                                           11         Witness my hand this ____ day of ___________,
  14     meaning yes, my own notes in my notebook. But     12    2020.
  15     they're just quick highlights, follow-up items,   13
                                                           14
  16     things like that.
                                                           15
  17        Q. Okay. So, like, not formal minutes?         16
  18        A. Not formal minutes, no.                     17
  19            MS. LEACH: All right. Well, I don't        18                        _____________________
  20     have any further questions, and I do appreciate   19                        Certified Shorthand
                                                           20                        Reporter for the
  21     your time.                                        21                        State of California
  22            THE WITNESS: Of course.                    22



                                           Page 278                                                                       Page 280
   1           MR. TERRY: I don't have any more             1   Debra O'Connell, c/o
                                                                WILLIAMS & CONNOLLY LLP
   2     questions either. Thank you.
                                                            2   725 12TH STREET, NW
   3           THE VIDEOGRAPHER: Okay. That                     WASHINGTON, DC 20005
   4     concludes today's deposition. The time is          3

   5     7:59 p.m.                                          4   Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
                                                                Date of deposition: December 14, 2020
   6               (Whereupon, at 7:59 p.m. EST
                                                            5   Deponent: Debra O'Connell
   7            the deposition of DEBRA O'CONNELL           6
   8            was adjourned.)                             7   Please be advised that the transcript in the above
   9                                                        8   referenced matter is now complete and ready for signature.
  10                                                        9   The deponent may come to this office to sign the transcript,
  11
                                                           10   a copy may be purchased for the witness to review and sign,
                                                           11   or the deponent and/or counsel may waive the option of
  12
                                                           12   signing. Please advise us of the option selected.
  13                                                       13   Please forward the errata sheet and the original signed
  14                                                       14   signature page to counsel noticing the deposition, noting the
  15                                                       15   applicable time period allowed for such by the governing

  16
                                                           16   Rules of Procedure. If you have any questions, please do
                                                           17   not hesitate to call our office at (202)-232-0646.
  17
                                                           18
  18                                                       19

  19                                                       20   Sincerely,
  20                                                            Digital Evidence Group
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  21
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                                                                             70 (Pages 277 to 280)
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                                                             Page 281
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  3
  4    SIGNATURE PAGE
       Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
  5    Witness Name: Debra O'Connell
       Deposition Date: December 14, 2020
  6
  7    I do hereby acknowledge that I have read
       and examined the foregoing pages
  8    of the transcript of my deposition and that:
  9
 10    (Check appropriate box):
       ( ) The same is a true, correct and
 11    complete transcription of the answers given by
       me to the questions therein recorded.
 12    ( ) Except for the changes noted in the
       attached Errata Sheet, the same is a true,
 13    correct and complete transcription of the
       answers given by me to the questions therein
 14    recorded.
 15
 16    _____________        _________________________
 17     DATE               WITNESS SIGNATURE
 18
 19
 20
 21    _____________          __________________________
 22     DATE                  NOTARY


                                                             Page 282
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  6                  ERRATA SHEET
  7

  8    Case: American Broadcasting Companies, Inc., et al. v. Goodfriend, et al.
  9    Witness Name: Debra O'Connell
 10    Deposition Date: December 14, 2020
 11    Page No. Line No.        Change
 12

 13

 14

 15

 16

 17

 18

 19

 20

 21      ___________________________             _____________
 22      Signature                   Date



                                                                                      71 (Pages 281 to 282)
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